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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                   Plaintiff,             )                8:17CR132
                                          )
      vs.                                 )
                                          )
KAYVON BERRY-SMITH,                       )                  ORDER
                                          )
                   Defendant.             )


        This matter is before the court on defendant’s unopposed Motion to Continue
Trial [46]. Counsel requests additional time to conclude plea negotiations. Defendant
shall comply with NECrimR 12.1(a). For good cause shown,

      IT IS ORDERED that the Motion to Continue Trial [46] is granted as follows:

      1. The jury trial now set for November 27, 2016, is continued to December 26,
      2017.

      2. The defendant shall file the affidavit required by paragraph 9 of the
      progression order and NE.CrimR 12.1(a) forthwith.

      3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
      justice will be served by granting this continuance and outweigh the interests of
      the public and the defendant in a speedy trial. Any additional time arising as a
      result of the granting of this motion, that is, the time between today’s date and
      December 26, 2017, shall be deemed excludable time in any computation of
      time under the requirement of the Speedy Trial Act. Failure to grant a
      continuance would deny counsel the reasonable time necessary for effective
      preparation, taking into account the exercise of due diligence. 18 U.S.C. §
      3161(h)(7)(A) & (B)(iv).

      DATED November 20, 2017.

                                BY THE COURT:


                                s/ Susan M. Bazis
                                United States Magistrate Judge
